 Case18-22760-GLT
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                             Document Order Page
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                                                                     FILED
                                                                     1/7/19 4:12 pm
                  IN THE UNITED STATES BANKRUPTCY COURT              CLERK
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA U.S. BANKRUPTCY
                                                                     COURT - :'3$
 IN RE:                                             : Bankruptcy No. 18-22760-GLT
                                                    :
    CRAIG LIPINSKI                                  : Chapter 7
                                                    :
                                Debtor                             53
                                                    : Document No. ______
                                                    :
    JEFFREY J. SIKIRICA, TRUSTEE                    :
                                                    :
                                Movant              :
                                                    :
       v.                                           :
                                                    :
    No Respondent(s)                                :


                      ORDER APPROVING RETENTION OF REALTOR/BROKER
                  AND NOW upon consideration of the TRUSTEE’S APPLICATION TO RETAIN BK
GLOBAL REAL ESTATE SERVICES AND CORE REALTY, LLC TO PROCURE CONSENTED
PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330 (the “Application”) filed at Doc. No.
[36], it is hereby ORDERED, ADJUDGED and DECREED as follows:

            (1)    The Application is hereby approved as of the date the Application was filed.

          (2)    BK Global Real Estate Services and Core Realty, LLC are hereby appointed as Realtor
for the Debtor(s) in this bankruptcy proceeding pursuant to the terms described in the Listing Agreement
attached to the Application for the purpose of acting as the Debtor’s agent in connection with the sale of
real estate located at 8437 Papelon Way, Jacksonville, FL 33217. A realtor commission in the amount of
6% on the sale price is tentatively approved, subject to final court order.

         (3)    Professional persons or entities performing services in this case are advised that approval of
fees for professional services will be based on other factors as well, including results accomplished, the
time and labor reasonably required by the applicant to perform the task(s) involved, the customary fee for
similar services, the time limitations imposed by the retention or the circumstances encountered while
performing the services, the relationship of the services, if any, to the ultimate bid amount for the subject
property, and the extent and nature of awards in similar cases.

        (4)   The approval of any application for appointment of a professional in which certain fees
are requested is not an agreement by the Court to allow such fees in the requested amount. Final
compensation, as awarded by the Court after notice and hearing, may be more or less than the requested
amount based on application of the above criteria

            (5)   Applicant shall serve the within Order on all interested parties and file a certificate of
service.
                                 Jeffrey Sikirica, Esq.
Date: ______________________________                         _____________________________________
                                                             GREGORY L. TADDONIO
                                                             -XGJH8QLWHG6WDWHV%DQNUXSWF\&RXUW


                       January 07, 2019
                  cm: Jeffrey Sikirica, Esq.
